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                                 UNrrBn SrarBs Drsrmcr Counr
                                        Drsrrucr oF MnnvesorA

            Camille A Abboud

            vs.Xcel Energt Inc.
                                             Plaintiff(s),
                                                                  case No.
                                                                              11 tv    )il.f Dlo 6N      )
                                                                  (To be assigned by Clerk of District
-:}?           XceI Energt Services                               Court)




            Benjamin G. S. Fowke III                              DEMAND FOR JT]RY
                                                                  TRIAL
            Marvin E. McDaniel
            Darla Figoli                                                  YES X           NO
            Thomas A. Imbler
            Kent T. Larson
            Scott M. Wilenslry
            Teresa S. Madden
            Richard C. Kelly
            John (Jack) S. Dybalski                                                      f.20r9
            David M. Sparby
            Judy M. Poferl

            Xcel's Board of Directors
            Lynn Casey
            Richard K. Davis
            James J. Sheppard
            David A. Westerlund
            Kim Williams
            Timothy V. Wolf
            Daniel Yohannes                                               REfifliTN
            Richard T. O'Brien                                              BY [';'j,:'",,-
            David K. Owens
            Christopher J. Policinski
                                                                              N0   / i5 2Ur1
                                                                                       .-Al !
            James T. Prokopanko                                                    L,r-::
                                                                                   ^t     .'\
                                                                         U.S. DlSl rtl';i'COURT
            A. Patricia Sampson                                       MINNEAPCLIU. ;';iIiNESOTA

                                             Defendant(s).


                                                                        SCnr,l[t'6n
                                                                        NolJ 15 201s
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                    EMPLOYMENT DISCRIMINATION COMPLAINT


PARTIES

1. List your nanre, address and telephone number. Do ttre same for any additional plaintiffs.
   a. Plaintiff
       Name                     Camille A Abboud

       Street Address              46 CHANDLERDR.

       County, City           _Saint Johns County, Saint Johns

       State & Zip Code                          32259
                              -FLORIDA,
       Telephone Number           423.499.9090

2. List all defendants. You should state the full name of the defendant, even if that defendant is
   a government agency, an organization, a co{poration, or an individual. Include the address
   where each defendant may be served. Make sure that the defendant(s) listed below are
   identical to those contained in the above caption.

   a. DefendantNo. I
       Name                          Benjamin G. S. Fowke III

       Street Address                414 Nicollet Mal'

       County, City           _Hennepin County, Minneapolis

       State & Zip Code                            55401
                              -MINNESOTA,
   b. DefendantNo.2
       Name                          DEFENDA}TTS I{AVE THE SAME ADDRESS-
                              -ALL
       Street Address              414 Nicollet Mall

       County, City           _Hennepin County, Minneapolis

       State & Zip Code           MINNESOTA.554Ol
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JURISDICTION

The Court has jurisdiction over this action under 28 U.S.C. $ 1331.

3. This employment discrimination lawsuit is Uasea on (check only those that apply):
   a. _X_ Title VII ofthe Civil Rights Act of 1964, as amended,42 U.S.C. $$ 2000e, et. seq.,
        for employrnent discrimination on the basis of race, color, religion, gender, or national
        origin. NOTE: In order to bring suit infederal district court under Title VII, you rnust
       first obtain aright to sue letterfrom the Equal Employment Opportunity Commission
        (EEoc).

   b. _X_ Age Discrimination in Emplgyment Act of 1967, as amended, 29 U.S.C. $$ 621, er.
       seq., for employnent discrimination on the basis of age (age 40 or older). NOTE: ,i'n
       order to bring suit infederal district court under the Age Discrimination in Employment
       Act, you must first file charges with the Equal Employment Opportunity Commission
       (EEOC).

   c. _ Americans with Disabilities Act of 1990, as amended, 42 U.S.C. $$ 12101, et. seq.,
       for employment discrimination on the basis of disability. NOTE: In order to bring suit
       infederal court under the Americans with Disabilities Act, you mustfirst obtain a right-
       to-sue letterfrom the Equal Employment Opportunity Commtssion @EOC).

   d. _ Rehabilitation Act of 1973, as amended, 29 U.S.C. $$ 701, et. seq., for employnent
       discrimination on the basis of a disability by an employer which constitutes a program or
       activity receiving federal financial assistance. NOTE: In order to bring suit infederal
       district court under the Rehabilitation Act of I 97 3, you must first file charges with the
       appropriate Equal Employment Office (EEO) representative or agency.

   e. _X_ Other (Please describe.)
   Retaliution, Negligence, Defamation, Slander, Intentional Inflection of

   Economic & Emotional Distress, Tortious Intederence with Prospective

   Contract

4. If you are claiming that the discriminatory conduct occurred at a location other than the
   defendant's address above, please provide the following information on where the conduct
   occurred:


       (Steet Address)                        (City/County)           (State)       (Zip Code)
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5. When did the discrimination occur? Please give the date or time period:
            Started July 2013 and continues today, October 20L9


ADMINISTRATIVE PROCEDURES

6. Did you file a charge of discrimination against the defendant(s) with the Equal Employment
   Opportunity Commission or other federal agency?

   a.
        -X-Yes Datefiled:-April 22od,2019
   b.      No

7. Have you received aNotice of Right-to-Sue Letter?
   a. _X_ Yes If yes, please attach a copy of the letter to this complaint.
            No




NATURE OF THE CASE

8. The conduct complained of in this law suit involves (check only those that apply):
           a. _Failure to hire me
           b. _X_ Termination of my employment
           c. _    Failure to promote me

           d. _    Failure to accommodate my disability   .




           e. _    Terms and conditions of employrnent differ from those of similar employees

           f. _X_Retaliation
           g. _ Harassment

           h. _X_ Other conduct (please speciff): Retaliation, Negligence, Defamation,

                Slander, fntentional fntlection of Economic & Emotional Distress

                and Tortious Interference with Prospective Contract.
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             i. Did you complain about this same conduct in the charge of discrimination,
                   referred to in number 6 above?

                   _X_ Yes          _ No
     9.   I believe that I was discriminated against because of my (check all that apply):

             a. _X_Race
             b. _X_Religion
             c. _X_National origin
             d. _X_ Color
             e. _      Gender

             f.        Disability

              g.   _X_ Age (my birth year is:-L961j

              h.   _{_ Other (please speciff): _Whisfle blower

              i. Did you state the same reason(s) in ttre charge of discrimination, referred to in
                   number 6 above?

                   _X Yes             No
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   Describe in the space provided below the basic facts of your claim. The description of facts
   should include a specific explanation of the conduct that you believe is discriminatory and
   describe how each defendant is involved inthe conduct (i.e. how, where, and when). Each

   paragraph must be numbered separately, beginning with number 10. Please write each

   allegation of discrimination in a separately numbered paragraph.


10. I started working for Northern States Power Co (NSP), a predecessor of Xcel Energy in

   December 1990, as Camille Abi-Abboud, a multi-degreed mechanical, nuclear engineer and

   a health physicist. As a permanent resident of the United States, NSP conducted a rigorous


   background check, aptitude and drug tests to allow me unescorted access to the Monticello

   Nuclear Plant by the Nuclear Regulatory Commission. In 1993, I become a US Citizen and

   immediately notified my employer NSP. During my tenure at NSP, 1990-2000, I was

   employed as a Senior Engineer at the Monticello and Prairie Island Nuclear Plants and as the

   Manager of the Nuclear Fuels Group. At the time, in addition to my 4 college degrees, 2 of

   which were Masters' degrees,I attained 4 national certifications and served as Chairman and

   Member of various nuclear and industry committees and boards. In July 2000, with the

   merger of NSP and New Century Energies (NCE) of Colorado that created Xcel Energy, I

   became an employee of Xcel Energy Services as the Director of Risk Services in Denver CO

   until my dismissal in January 2013 for tryi"g serious safew and fraud concems, against the

   ratepayers, to Xcel's management. During my tenure with Xcel Energy in Denver, I earned

   another Masters' Degree in Business A.dministration (2005) and2 more national

   certifications (2003 &2006). Soon after the attacks of Sepember 11, 2001,I legally changed

   my ftlme to Camille A Abboud and immediately notified my employer of the change. For

   over 22 years at NSP & Xcel, I became very proficient in all aspects of the electric & gas

   utility sphere, earning me, along with my degrees and certifications, a wealth of experience
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that is second to none. Needless to say, up until January 2013, my only employers of 22+

years, NSP & Xcel Energy, were tJ;le onlv entitv aware ofmy age, color, national origin,

name change and whistle-blower status as they conducted various background checks for

employment reasons. In late June 2013, few months after my dismissal, I entered into a

Settlement Agreement with Xcel Energy which included a mutual non-disparaging clause.

Since July 2013 and up until now, I have applied to over 3500 positions across the country

with over 50 employers in the electric & gas utility industry, including State and Federal

regulatory agencies. The majority of my applications were in direct recruitment by electric

& gas utilities similar to Xcel Energy. However, about 100 or so of these applications were

in response to few headhunters' requests and about 2 dozens went to State & Federal

agencies. Most of the utilities receiving over 3300 applications are connected or tied to Xcel

Energy throughpersonal, industry, commercial or contactual relationships. Most of Xcel's

Board of Directors and Executives, i.e. the Defendants, by their own admissions and Bios are

joined to most utilities through industry committees, boards, memberships, meetings such as

EEI, EPRI, INPO andNEI. More so, for example, Florida Power & Light (FPL), the

recipient of over 330 of my applications for various positions, has a personal connection to

Ben Fowke, Xcel's CEO. Fowke had worked at FPL for about 10 years in the 1990's prior to

joining NCE. AdditionatlS Xcel & FPL have over $500 Mil in contractual and commercial

trading activities. Dick Kelly, Xcel's ex-CEO and one of the defendantso was the Chairman

of the Board of Directors at Pacific gas & Elechic (PG&E) between 2013 and 2019. PG&E

is the recipient of over 400 of my applications. As a matter of fact, the commercial,

contractual, personal and trading relationships between the Defendants at Xcel Energy and

utilities such as FPL, PG&E, Southem Co., Entergy, Duke Energy, Dominion Energy,
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Tennessee Valley Authority, Exelon, Great River Energy, Ameren, First Energy, Alliant

Energy, Consumers Energy, American Electic Power, Public Service Enterprise Group,

Black Hills, Southern California Edison, Sempra Energy, Consolidated Edison, Detroit

Edison, Colorado Springs Utilities, Platte River Power Authority, New York Power

Authority, Long Island Power Authority, Tampa Electric, Public Service of New Mexico,

Arizona Public Service, Texas Utilities, Portland General Electic, Seattle City Light,

Sacramento Municipal Utility District, San Diego Gas & Electric, Jacksonville Electric

Authority, Orlando Utilities Commission, Austin Energy, PacifiCorp, Puget Sound Energy

and Tucson Electric @aul Bonavia ex-CEO, was an executive at Xcel), worth billions of

dollars, are proven and well documented. These 3-dozen or so utilities are the recipient of

over 90Yo of my 3300+ applications.

My first 10 years at NSP, I was employed in positions that provided me the opportunity to

enter into many contractual agreement with vendors, suppliers and contractors that generated

hundreds sf millions of dollars in cost savings to the ratepayers. Most of these savings

didn't benefitNSP's shareholders. I accepted the Director position in Denver as it has far

reaching analytical mastery in all aspects of Xcel's business: Elecfuic & Gas, Generation,

Distribution and Transmission as well as Fuels, Regulatory and Rate-making. My positions

over the last 12+ years in Denver were in Risk Management overseeing and "policing" all

confuactual agreements ofmany exeoutives for all aspects ofthe business. Policing and

exposing wrong-doing by Xcel Executives, whose principal motive was to enrich themselves

and Xcel' Shareholders at the expense of Xcel's ratepayers. As soon as I exposed the fraud

in a certain area of the company, my bosses: Dybalski, Fowke, Kelly, Madden, l{spaniel,

Figoli, Sparby, Poferl, Larson,Imbler, Wilensky and Bonavia, ensured that the same area is
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off-limits to my analytical prowess. It all startedin2000-2001, when I exposed Fowke,

Bonavi4 Imbler, Fowke, McDaniel, Wilensky and Figoli to the Enron parhership during the

California Crisis, my direct boss Dybalski ensured that the commercial trading activities are

off-limits to my goup. In 2003, I exposed to Xcel's management the fraud at NRG, Xcel's

non-regulated subsidiary, which led to NRG's bankruptcy and a major hit to Xcel's stock. In

2005, as soon as I "corrected" Investors' Relations VP "errors" in the Annual Report, I was

                       o'review
never asked again to              Xcel's financial reports". In 2009, as soon as I exposed the

fraud committed by executives in the Resource Planning @P) area it became ofllimits and

the RP goup started performing their own review of their own work. Finally, Lrr20l2, when

I exposed a $500 Mil fraud and major safety violations on the Xcel natural gas system,

committed by executives at the highest level, I earned myself a position elimination and a

o'pink
         slip" to go with it. Since July 2013 and continuing todqv. the Defendants - Xcel

Executives have made discriminatory and retaliatory statements, to other potential employers

and headhunters. This constant bombardment, repeated to other executives, meant that after

6 years of substantial effort to gain employmen! over 3500 job applications ranging from an

enky level engineer at JEA (for which I passed all aptitude tests) to CEO of a Municipality

in Kentucky, over 150 interviews: NOT a single job offer!

My case against Xcel Energy Inc. and Xcel Energy Services has all the characteristics of a

criminal act committed by Xcel's executives and its Board of Directors. Thereos motive:

Punish a whistleblower for caring more about the ratepayers that entrust him with their

physical and financial safety, instead of illegally enriching management and Xcel's

shareholders. There's criminal intent to use all discriminatory and retaliatory means to ruin

my career, prevent me from supporting and raising my family while "bragging" about their
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actions to ensure no other whistle-blower dare raise concens or question their illegal

activities. Xcel's management had the means at their disposal to commit this heinous

criminal act without fear of punishment, as a la David vs. Goliath. Xcel's Board of Directors

is guilty of negligence for failure to protect employees from discriminatory and retaliatory

actions in accordance with Federal laws and their own Code of Conduct as well. Xcel's

management, on the other hand, acted criminally fully knowing that I have no choice but to

use Xcel as a career reference. After all, at Xcel, I spent22+ years of my 24+ year career.

Xcel's conduct caused the financial, emotional, mental and psyohological stress to me,

personally, and to innocent by-standers, my family. After earning 5 college degrees and

many industry certifications and awards, failure to secure gainftl employment makes it

extremely hard to raise my 4 kids to be good citizens. Xcel's management, after signing the

Settlement Agreement in June 2013, devised a diabolic plan to ensure "f never work in the

industry agarri,'. They made sure early on, and continues today. to intentionally inflict

financial and professional damage. They made good on that promise directly to potential

employers and headhunters. The executives in this industy use back-channels for hiring

pu{poses. The crime was committed and there was a "body-my career and financial well-

being" along with a tong tail of evidence. Furthermore, Xcel's failure to fix the gas delivery

system (the catalyst for my dismissal) in Colorado and Minnesota, led to 2 gas explosions in

Denver (August 2018) and Saint Paul (November 2018) that left one person dead, many

injuries and substantial financial losses to ratepayers involved. As a regulated monopoly, it

is not on15 essential and imperative, but more importantly compulsory for Xcel Energy

Executives and Board of Directorsto uolceltheir "captured" ratepayers. Instead, they chose

to silence me and expose the ratepayers to financial and physical hann.




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I will sammarize the basis and facts of ALL mv claims for Discrimination. Retaliation,
Nesligence,Intentional Inflection.,and Tortioas Interference in bulleted form:




       applied to 403 positions and was interviewed 24 times. The application process

       requested and was eranted permission to contact Xcel for a reference. All of the

       interviews inquired about Xcel and the Defendants. One particular headhunter (.CGL

       Global) shared with me a voice recording (Feb. 7. 2019) he left Ben Fowke in

       reference to 2 jobs I was considered for. I never heard bapk from the headhunter.




       interviewins skills. Once they were granted Xcel and its executives as a reference. I

       never heard back.




       I completed 15 interviews. Xcel was the only employer used for reference. Not a

       single job offer.




       potential employer which only infers that thev relied solely. at the application or

       interview stage" on Xcel's executives for reference either directly or tbrough back

       channels.




       who had sugeested to me that I had been discriminated and retaliated against by Xcel

       Energy have refused to come forward as they feared retaliation for their jobs.

       livelihood and pensions.




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  current and ex-emplo)'ees as well as at least one headhunter. Xcel's HR and legal

         66interviewed". c6harasSed". €Gintimidated" and 66pressured" my wihresseS.
  have

  Immediately thereafter my witnesses decided "not to get involved"-




  reviews. reeulatory filings bearing my sienature and at?y communications with other

  potential employers. Xcel HR claims that such records do not exist. This is

  absolutely not tue. Xcel is required by 10 CFR20 and the Nuclear Regulatory

  Conunission (.Atomic Enere.v Act of 1954 & Eners.y Reorganization Act of 1974) to

  maintain nuclear employment and radiation dose received until the nuclear operating

  license is terminated. Where are my nuclear employment records? My Xcel nuclear

  bosses are long retired.




  including nuclear positions requiring nuclear certifications. Individuals like myself

  wi*r nuclear certifications are hiehly sought after due to major shortage in qualified

  nlrclear aoplicants. I never received even a phone call. Gerard M. Anderson. DTE's

  CEO and Ben Fowke. Xcel's CEO sit on EEI's Board since June 2019.




  call or even acknowledgement. Lynn Good. Duke's CEO is EEI's Chairwoman.




  and comrnercially to most employers receiving the last 615 of my applications.



' vears. I deplored them. on several ociasions. in writing. to exert their will on Xcel's
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 manaeement to stop the illegal and criminal acts perpetuated by Xcel's executives. to

 no avail. Xcel's Board is a guilty of the same crimes as Xcel's executives. As long as

 management continues. througlh their fraudulent actions. deliver financial benefits.

 the Board turned a blind eye.

 I have 5 college degrees, 6 national certifications and was well known and respected

 in the industry. As a fact, prior to my dismissal, I was never rejected for any job.

 Every job that I ever applied for was offered, including 4 unsolicited offlers, 2 of

 which by headhunters.

 During my 22+ years at Xcel,I received 43 of 44 performance reviews as'oexceeds

 expectations". The only exception was the last review performed by my supervisors

 in March of 2013,2 months aftermy dismissal.

 I was a valued employee as evident in Xcel's management reliance on my

 capabilities, as long as I tumed a blind eye, ot benefited them, or advanced their

 careers: Fowke, McDaniel, SparbR Kelly, Madden and Wilenslqy just to name few.

 Ben Fowke, Xcel's CEO and one of the defendants, "ordered" me to fire an

 employee, of Moroccan decent, for refusing a direct order to alter electricity market

 prices. "And make sure the F'er never works in the industy ever again" which I

 refused. The employee was later fired by Jack Dybalski and to the best of my

 knowledge, never worked in the US again, he's back in Morocco. This exemplifies

 Fowke' s retaliatory disposition.

  Since leaving Xcel, I have applied to over 3500 jobs and received over 150

  interviews which clearly infer substantial effort on my part to find gainful

  employment and that I am exceptionally qualified.




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 For each application submitted up until now, employers requested Xcel references

 which were all granted.

 Xcel HR unequivocally claims that NOT a single person, headhunter or potential

  employer ever sought a reference for me. The logic says this is absolutely a lie or it

  infers that references went through the back channels, far away from the prying eyes

  of the law.

  Every executive defendant's name came up during the interviews' process. The

  hiring process always failed €N soon as employers sought Xcel as a reference.

  All defendants are connected personally, contactually, commercially and by-

  committees and industry meetings to most electic and gas utilities. Several of these

  employers and headhunters have very significant contactual ties, worth billions, to

  Xcel. This clearly infers back door channels for most positions and the impulse and

  self-preservation not to antagonizeXcel by hiring me.

  Dwing the fust part of 2017, I set out to solicit positions from various large

  employers by writing directly to many executives in the industry. One company in

  particular, Sempra Energy responded with very positive letter from their COO.

  Soon after and until today I have applied to over 40 jobs at Sempra and not a single

  phone call. During the same period rn20l7, Debra Reed, ex-CEO of Sempra and

  Ben Fowke, Xcel's CEO sat on EPRI and EEI's Boards.

  After over 150 interviews, I never received a single explanation as to why I wasn't

  hired. If Xcel and these potential employers obeyed Federal employment laws, the

  why wouldn't these employers give me a reason?




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 Multiple attempts to exhact my applications and interview notes from ALL potential

 employers was met with:-'get a Court Order". Why would law abiding and ethical

 employer refuse to hand over my olvn personnel files?

 All of my Xcel witresses, current and ex-employees, have beeri "ta:npered dft',
                       o'threatened" to cut all ties and any communications with me
 coerced and, worse,

 including a relative of mine still employed at Xcel.

 All of my witnesses, including headhunters, Xcel current and ex-employees have

 refused to speak with me, "we don't want to get involved" and/or referred me to

 Xcel's legal department. All current and ex-employees fear Xcel management's

 wrath and retaliation against their livelihood and retirement benefits. These threats go

 unabated bv Xcel's Board.

 My industry HR expert asserts thatmy interviews'process "broke down" when

 employers sought Xcel references and given my resume and qualifications, which she

 believed was the best she's seen in over 25 years, I should have, at least, received

  over a dozen job offers.

 In addition to the psychological, mental and emotional afflictions as a result of the

  defendants' causation and actions, I have been ruined, financially. My forensic

  economic expert estimates my financial downfall due to Xcel's criminal acts to be

  between $5 and 10 Mil.




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REOWST FOR RELIEF

State briefly and exactly what you want the Court to do for you and the amount of monetary
compensation, if any, you are seeking.

Finding defendants' actions to be a violation of law and awarding plaintiff

economic and compensatory damages in accordance with the law in an amount in
          b
excess of75,000. Awarding the plaintiff punitive damages due to defendants'

criminal acts as allowed by law. Granting the plaintiff Equitable Relief to compel

the defendants to refrain from unlawful activities and correct the PlaintifPs

employment record.




Date: October 29h,20L9




                      Mailing Address           46 CIIANDLER DR.

                                                SAINT JOHNS, FLORIDA 32259-


                      Telephone Number      _423 .499.9090 & 7 20.480.0090




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